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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     LISABETH HANSCOM,                                   Case No. 21-cv-03434-JSW
                                                        Plaintiff,
                                   8
                                                                                             ORDER GRANTING MOTION TO
                                                  v.                                         DISMISS FIRST AMENDED
                                   9
                                                                                             COMPLAINT
                                  10     REYNOLDS CONSUMER PRODUCTS
                                         LLC, et al.,                                        Re: Dkt. No. 43
                                  11                    Defendants.
                                  12
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                                  13          Now before the Court for consideration is the motion to dismiss portions of the First

                                  14   Amended Complaint (“FAC”) filed by Defendants Reynolds Consumer Products Inc. and

                                  15   Reynolds Consumer Products LLC (collectively, “Reynolds” or “Defendants”). The Court has

                                  16   considered the parties’ papers, relevant legal authority, and the record in the case, and it finds this

                                  17   matter suitable for disposition without oral argument. See N.D. Civ. L.R. 7-1(b). For the

                                  18   following reasons, the Court GRANTS Reynolds’ motion to dismiss.

                                  19                                             BACKGROUND

                                  20          The substantive facts of this case are fully addressed in this Court’s Order granting, in part,

                                  21   and denying, in part, Reynolds’ motion to dismiss the original complaint by filed by Plaintiff

                                  22   Lisabeth Hanscom (“Plaintiff”). (Dkt. No. 41 (“10/1/21 Order”).)

                                  23          In its prior Order, the Court dismissed Plaintiff’s fraud-by-omission theory based on a duty

                                  24   to disclose and dismissed Plaintiff’s claims to the extent they were premised on statements on

                                  25   Reynolds’ website. The Court also dismissed Plaintiff’s claims for equitable restitution because

                                  26   Plaintiff failed to allege that she lacked an adequate remedy at law. The Court ordered Plaintiff to

                                  27   file any amended complaint within twenty-one days. Plaintiff timely filed the FAC on October 22,

                                  28   2021. (Dkt. No. 42.)
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                                   1           On November 5, 2021, Reynolds filed the instant motion to dismiss. (Dkt. No. 43.)

                                   2   Reynolds again moves to dismiss (1) Plaintiff’s fraud-by-omission claims to the extent they are

                                   3   based on a duty to disclose; (2) Plaintiff’s claims to the extent they are based on alleged

                                   4   misrepresentations on Reynolds’ website; and (3) Plaintiff’s claims for equitable restitution.

                                   5   Reynolds also moves to dismiss on the basis that Plaintiff lacks Article III standing to seek

                                   6   injunctive relief.

                                   7           The Court will address additional facts as necessary in the analysis below.

                                   8                                                ANALYSIS

                                   9   A.      Applicable Legal Standards.
                                  10           A motion to dismiss is proper under Federal Rule of Civil Procedure 12(b)(6) where the

                                  11   pleadings fail to state a claim upon which relief can be granted. A court’s “inquiry is limited to

                                  12   the allegations in the complaint, which are accepted as true and construed in the light most
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                                  13   favorable to the plaintiff.” Lazy Y Ranch Ltd. v. Behrens, 546 F.3d 580, 588 (9th Cir. 2008). Even

                                  14   under the liberal pleading standard of Federal Rule of Civil Procedure 8(a)(2), “a plaintiff’s

                                  15   obligation to provide ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

                                  16   conclusions, and formulaic recitation of the elements of a cause of action will not do.” Bell Atl.

                                  17   Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)).

                                  18   Pursuant to Twombly, a plaintiff cannot merely allege conduct that is conceivable but must instead

                                  19   allege “enough facts to state a claim to relief that is plausible on its face.” Id. at 570. “A claim

                                  20   has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

                                  21   reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

                                  22   556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556).

                                  23           If the allegations are insufficient to state a claim, a court should grant leave to amend

                                  24   unless amendment would be futile. See, e.g., Reddy, 912 F.3d at 296; Cook, Perkiss & Liehe, Inc.,

                                  25   911 F.2d at 246-47.

                                  26   B.      Plaintiff’s Claims for Restitution Fail.
                                  27           Reynolds once again moves to dismiss Plaintiff’s claims for equitable restitution on the

                                  28   basis that Plaintiff fails to allege that she lacks an adequate remedy at law under Sonner v. Premier
                                                                                          2
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                                   1   Nutrition Corp, 971 F.3d 834 (9th Cir. 2020). The Court previously found that Plaintiff failed to

                                   2   allege that she lacked an adequate remedy at law with regard to her request for restitution. When

                                   3   it dismissed these claims from the original complaint, the Court afforded Plaintiff leave to amend

                                   4   because it was possible Plaintiff could allege that money damages would be inadequate to what

                                   5   restitution could provide.

                                   6          In the FAC, Plaintiff now alleges she lacks an adequate remedy at law with regard to her

                                   7   unfair and unlawful claims because (1) “there is no cause of action at law for ‘unfair’ conduct,”

                                   8   and (2) the FTC Green Guides and Environmental Marketing Claims Act, on which she premises

                                   9   her unlawful claim, “do not provide a direct cause of action and must be alleged as predicate acts

                                  10   under the UCL to obtain relief.” (FAC ¶ 99.) Plaintiff argues that these allegations establish that

                                  11   she has no remedy at law for her unlawful and unfair UCL claims because her unfair and unlawful

                                  12   claims are based on a different legal theory than her claims based on her theory of consumer
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                                  13   deception.

                                  14          In support of her argument, Plaintiff again points to Elgindy v. AGA Serv. Co., which the

                                  15   Court found distinguishable in its prior Order. (See 10/1/21 Order at 18 n.6.) In Elgindy, the

                                  16   plaintiffs purchased insurance policies for events or for travel and alleged the defendants bundled

                                  17   “a non-optional assistance services fee with the sale of these insurance policies,” without “fully

                                  18   disclosing the inclusion of that fee[.]” No. 20-cv-06304-JST, 2021 WL 1176535, at *1 (N.D. Cal.

                                  19   Mar. 29, 2021). In support of their claims, which included claims under the UCL and for common

                                  20   law fraud, the plaintiffs advanced two theories: (1) that the challenged service fee was an unlawful

                                  21   “agent” fee or insurance premium upcharge; and (2) that the defendants acted fraudulently by

                                  22   concealing the fact that the service fees were included in the insurance policy’s total price. Id. at

                                  23   *4. The court permitted the plaintiff to pursue equitable relief under the first theory because only

                                  24   equitable claims were available on that theory. Id. at *15.

                                  25          Plaintiff argues that here, as in Elgindy, her unfair and unlawful claims are based on an

                                  26   alternative theory—in this case, Reynolds’ failure to possess substantiation of its “Recycling”

                                  27   claim—for which legal remedies are not available, thus entitling her to seek restitution. The Court

                                  28   finds Plaintiff’s argument unconvincing. Individuals may not bring suit under the UCL or the
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                                   1   CLRA alleging only that advertising claims lack substantiation. Kwan v. SanMedica Int’l, LLC,

                                   2   No. 14-cv-03287-MEJ, 2014 WL 5494681, at *2 (N.D. Cal. Oct. 30, 2014) (citing Stanley v.

                                   3   Bayer Healthcare LLC, 11-cv-862-IEG-BLM, 2012 WL 1132920, at *3 (S.D. Cal. Apr. 3, 2012)).

                                   4   Accordingly, Plaintiff is unable to pursue or obtain relief for a substantiation claim under

                                   5   California law. However, Plaintiff’s inability to obtain relief for her substantiation claims does

                                   6   not establish that she lacks an adequate remedy at law and is therefore entitled to seek equitable

                                   7   restitution for these claims. Indeed, Plaintiff is unable to obtain any remedy—legal or equitable—

                                   8   for her purported substantiation claims because such claims are barred in California. Thus, this

                                   9   case is distinguishable from Elgindy, where equitable but not legal remedies were available for the

                                  10   plaintiffs’ unlawful claims.

                                  11          Furthermore, the allegations in the FAC do not alter the Court’s previous conclusion that

                                  12   Plaintiff’s unlawful and unfair claims are rooted in the same legal theory and factual allegations as
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                                  13   her consumer deception claims. The gravamen of Plaintiff’s complaint is that the “Recycling”

                                  14   claim is false and misleading, not that it is unsubstantiated. The Court’s previous conclusion

                                  15   remains true: Plaintiff’s legal and equitable claims are all rooted in the same allegations that

                                  16   Reynolds’ labeling of its bags as “Recycling” bags was false and misleading to consumers.

                                  17   Accordingly, Plaintiff again fails to demonstrate that she lacks an adequate remedy at law with

                                  18   regard to her unfair and unlawful claims.

                                  19          Plaintiff also now alleges that she will lack an adequate remedy at law with respect to her

                                  20   claim under the fraudulent prong of the UCL and her FAL claim if she is not able to prove certain

                                  21   elements of her CLRA and common law claims. She alleges “hypothetically and in the

                                  22   alternative” that she will be unable to obtain monetary, declaratory, and/or injunctive relief” for

                                  23   her CLRA and common law claims and “will lack an adequate remedy at law if the Court requires

                                  24   her to show classwide reliance and materiality beyond the objective reasonable consumer

                                  25   standard” applied under the FAL and UCL. (FAC ¶¶ 69, 100.) She further alleges she may be

                                  26   unable to obtain legal remedies and therefore will lack an adequate remedy at law if she is unable

                                  27   to demonstrate the requisite mens rea for her common law claims because the FAL and UCL

                                  28   impose no such requirement. (Id.)
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                                   1           Plaintiff contends these allegations establish an inadequate remedy at law because she is

                                   2   entitled to plead equitable theories in the alternative to her legal remedies under Fed. R. Civ. P.

                                   3   8(d)(2). Plaintiff previously asserted this argument. The Court concludes, as it has before, that

                                   4   nothing in Sonner suggests that the Court should ignore the allegations in the FAC in favor of

                                   5   Rule 8’s general principles. 10/1/21 Order at 18; see also Axelrod v. Lenovo (United States) Inc.,

                                   6   No. 21-cv-06770-JSW, Dkt. No. 18 (N.D. Cal. January 4, 2022). To be sure, the Court does not

                                   7   interpret Sonner to preclude pleading in the alternative. However, to satisfy Sonner, Plaintiff must

                                   8   plead facts establishing that the legal remedies under the CLRA and for her common law claims

                                   9   are “inadequate or incomplete.” 971 F.3d at 844. Plaintiff has not done so here. Plaintiff seeks

                                  10   the same amount—the price premium or full refund price—in damages and in restitution, and the

                                  11   FAC still lacks allegations showing, for example, how restitution would go beyond the damages

                                  12   available her. Plaintiff alleges that she may be unable to obtain damages for her CLRA and
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                                  13   common law claims if she is unable to prove certain elements of those claims, but these

                                  14   allegations do not establish that the damages she seeks are necessarily inadequate or incomplete.

                                  15   That is, Plaintiff’s “inability to obtain damages here results from her CLRA [and common law]

                                  16   claims’ failure on the merits; she has not demonstrated that there is an inherent limitation of the

                                  17   legal remedy that renders it inadequate.” Nacarino v. Chobani, LLC, No. 20-cv-07437-EMC,

                                  18   2021 WL 3487117, at *12 (N.D. Cal. Aug. 9, 2021). Accordingly, Plaintiff fails to satisfy

                                  19   Sonner’s requirement that she plead she lacks an adequate legal remedy with respect to her claims

                                  20   for restitution.

                                  21           For these reasons, the Court GRANTS Defendants’ motion to dismiss Plaintiff’s claims for

                                  22   equitable relief to the extent they seek restitution. Because Plaintiff was given an opportunity to

                                  23   correct this defect and failed to do so, the Court concludes it would be futile at this juncture to

                                  24   grant Plaintiff the opportunity to amend this aspect of her claims. However, the dismissal is

                                  25   without prejudice so that should Plaintiff find facts, during discovery, showing that a legal remedy

                                  26   would be inadequate, she may seek leave to amend.

                                  27   C.      Plaintiff Lacks Article III Standing to Seek Injunctive Relief.
                                  28           Reynolds also argues that Plaintiff lacks standing to seek injunctive relief. The Court
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                                   1   previously found that Sonner did not bar Plaintiff from seeking prospective injunctive relief.

                                   2   Reynolds now argues that Plaintiff’s claims for injunctive relief fail because she lacks standing to

                                   3   seek an injunction.1

                                   4          To show she has standing to seek injunctive relief, Plaintiff must “demonstrate that [she]

                                   5   has suffered or is threatened with a ‘concrete and particularized’ legal harm, coupled with a

                                   6   ‘sufficient likelihood that [she] will again be wronged in a similar way.’” Bates v. United Parcel

                                   7   Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007) (quoting Lujan v. Defenders of Wildlife, 504 U.S.

                                   8   555, 560 (1992) and City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983)). The latter inquiry

                                   9   turns on whether the plaintiff has a “real and immediate threat of repeated injury.” Id. The threat

                                  10   of future injury cannot be “conjectural or hypothetical” but must be “certainly impending” to

                                  11   constitute an injury in fact for injunctive relief purposes. Davidson v. Kimberly-Clark Corp., 889

                                  12   F.3d 956, 967 (9th Cir. 2018).
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                                  13          The Davidson court provided two non-exclusive examples of how a previously deceived

                                  14   plaintiff could allege standing to seek injunctive relief. In the first instance, a plaintiff may

                                  15   plausibly allege they would want to purchase the product, but that they are unable to rely on the

                                  16   labels and so will refrain from purchasing a product they want. Id. at 970-71. In the second

                                  17   example, a plaintiff might plausibly allege that they would purchase a product in the future,

                                  18   despite the fact it was once marred by false advertising or labeling, as they may reasonably, but

                                  19   incorrectly, assume the product was improved.” Id. at 971. In either example, in addition to

                                  20   alleging facts that demonstrate they are unable to rely on the advertising or labeling, a plaintiff

                                  21   must allege they would want to or intend to purchase the product in the future.

                                  22          In Davidson, the plaintiff purchased wipes labeled as “flushable” because she believed

                                  23   they were suitable of disposal down the toilet and they “would be better for the environment, and

                                  24   more sanitary, than non-flushable wipes.” 889 F.3d at 961. The plaintiff alleged, however, that

                                  25   contrary to the label statement, the wipes were not “flushable” as advertised and caused clogs in

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                                  27     Reynolds did not raise this argument in its initial motion to dismiss. However, Reynolds is not
                                       foreclosed from raising it now on a second motion to dismiss because the argument concerns the
                                  28   Court’s subject matter jurisdiction, which can be raised at any stage of the proceedings. See Fed.
                                       R. Civ. P. 12(g)(2), 12 (h)(3).
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                                   1   municipal waste systems and sewers. Id. at 962. The plaintiff alleged that she still wished to

                                   2   purchase wipes that were suitable for disposal in a household toilet but had no way of determining

                                   3   the truth of the “flushable” representation. Id. at 971. The Ninth Circuit found these allegations

                                   4   were sufficient to establish that the plaintiff faced an imminent or actual threat of future harm. Id.

                                   5   In reaching this conclusion, the Ninth Circuit pointed to allegations in the complaint establishing

                                   6   that the plaintiff’s continued desire to purchase truly flushable wipes was based on her belief that

                                   7   “it would be easier and more sanitary to flush the wipes than to dispose of them in garbage.” Id.

                                   8   The court explained that the “FAC is ‘devoid of any grounds to discount [Davidson’s] stated intent

                                   9   to purchase [the wipes] in the future.’” Id. (quoting Ries v. Arizona Beverages USA LLC, 287

                                  10   F.R.D. 523, 533 (N.D. Cal. 2012)).

                                  11          Plaintiff contends that she has sufficiently alleged her desire to purchase Hefty recycling

                                  12   bags in the future under Davidson. Plaintiff alleges that she would like to continue to purchase
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                                  13   recycling bags from Defendants but will be deterred from doing so because she has no way of

                                  14   determining if the “Recycling” label on the bags is truthful. (See FAC ¶ 41.) Reynolds argues,

                                  15   however, that Plaintiff’s alleged ongoing desire to purchase its recycling bags is implausible

                                  16   because elsewhere in the FAC Plaintiff alleges that “recyclables should be clean and dry and

                                  17   should be placed in a collection bin without the use of a plastic bag or liner” and that the recycling

                                  18   collection and transport process is “designed to work without such bags.” (FAC ¶ 29.)

                                  19          The Court agrees with Reynolds that these allegations distinguish the instant case from

                                  20   Davidson. In Davidson, the plaintiff alleged a continued desire to purchase flushable wipes based

                                  21   on her belief that it would be easier and more sanitary to flush wipes than to dispose of them in the

                                  22   garbage. Here, in contrast, Plaintiff has not alleged any underlying belief in the utility of the

                                  23   recycling bags, either generally or as pertains to her own recycling experience, that supports her

                                  24   alleged desire to purchase recycling bags in the future. Instead, Plaintiff alleges that recyclables

                                  25   should be placed in a bin without a plastic bag and that recycling collection is designed to work

                                  26   without recycling bags. The import of Plaintiff’s allegations is that recycling bags are superfluous

                                  27   to the recycling process regardless of the recyclability of the bag itself. That is, even if Reynolds

                                  28   were to reengineer the bags so they were capable of being recycled, it is implausible that Plaintiff
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                                   1   would wish to purchase Reynolds’ recycling bags in the future in light of her allegations that

                                   2   recycling bags in general add no benefit the recycling collection and transport process. Thus,

                                   3   unlike in Davidson, there are “grounds in the FAC to discount [Plaintiff’s] stated intent to

                                   4   purchase the bags in the future.” 889 F.3d at 971 (quoting Ries v. Arizona Beverages USA LLC,

                                   5   287 F.R.D. 523, 533 (N.D. Cal. 2012)). 2

                                   6           In opposition, Plaintiff contends her alleged desire to purchase a true “Recycling” bag in

                                   7   the future is not implausible. She asserts that she “bought and used the bags because she believed

                                   8   that using a bag for recycling was more convenient and cleaner than directly placing the waste in

                                   9   her bin or using non-recyclable bags.” (Opp. at 8.) However, this fact is not alleged in the

                                  10   complaint. Accordingly, the Court cannot consider it in ruling on this motion. Ketayi v. Health

                                  11   Enrollment Grp., No. 20-cv-1198-GPC-KSC, 2021 WL 2864481, at *9 (S.D. Cal. July 8, 2021)

                                  12   (court cannot consider facts that are not alleged in the complaint).
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                                  13           For these reasons, the Court finds Plaintiff fails to allege facts establishing Article III

                                  14   standing to pursue injunctive relief and GRANTS Reynolds’ motion on this basis. Because

                                  15   Reynolds raised this issue for the first time in this motion and because the Court cannot say

                                  16   amendment would be futile, the Court GRANTS Plaintiff leave to amend.

                                  17   D.      Plaintiff Cannot Pursue Claims Based on Reynolds’ Website.
                                  18           Reynolds again moves to dismiss Plaintiff’s claims to the extent they are premised on

                                  19   representations that appear on the website because Plaintiff still does not allege that she viewed

                                  20   the website. Plaintiff’s website allegations remained unchanged in the FAC. However, as in her

                                  21   prior motion to dismiss, Plaintiff states that she is not pursuing separate claims based on

                                  22   representations on Reynolds’ website but maintains that these allegations are relevant to her other

                                  23   causes of action and requests for relief, including those that require scienter. Accordingly, the

                                  24   Court GRANTS the motion to dismiss Plaintiff’s claims to the extent they are premised on alleged

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                                         For this reason, the other cases Plaintiff cites in opposition are similarly distinguishable. Those
                                  27   cases focused on whether the plaintiffs sufficiently alleged an ongoing desire to purchase the
                                       challenged products under Davidson. They did not address a situation where, like here, the
                                  28   defendants challenged the plausibility of the plaintiffs’ allegations that they intended to purchase
                                       the product in the future.
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                                   1   misrepresentations on Reynolds’ website with prejudice. However, although not separately

                                   2   actionable, the Court recognizes that these allegations may have relevance to Plaintiff’s other

                                   3   causes of action and requests of relief in this proceeding.

                                   4   E.      Plaintiff Does Not Allege an Omission Claim Based on a Duty to Disclose.
                                   5           Reynolds also moves to dismiss Plaintiff’s omission theory based on a duty to disclose.

                                   6   The Court previously dismissed Plaintiff’s fraudulent omissions theory based on a duty to disclose

                                   7   because Plaintiff failed to allege a defect going to the central function of the product. Plaintiff

                                   8   includes no new allegations to support a fraud-by-omission cause of action in the FAC and

                                   9   concedes that she is no longer asserting an omission claim based on a duty to disclose.

                                  10   Accordingly, the Court GRANTS Reynolds’ motion to dismiss Plaintiff’s fraud-by-omission claim

                                  11   based on a duty to disclose with prejudice. As the Court previously stated, however, Plaintiff’s

                                  12   fraud-by-omission claims survive to the extent they are based on Defendants’ affirmative
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                                  13   misrepresentations.

                                  14                                              CONCLUSION

                                  15           For the foregoing reasons, the Court GRANTS Reynolds’ motion to dismiss. Should

                                  16   Plaintiff choose to file an amended complaint to address the deficiencies related to her standing to

                                  17   seek injunctive relief, she may do within twenty-one days.

                                  18           IT IS SO ORDERED.

                                  19   Dated: January 21, 2022

                                  20                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  21                                                     United States District Judge
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